Order Form (01/2005)
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                              United States District Court, Northern District of Illinois

     Name of Assigned Judge        Samuel Der-Yeghiayan        Sitting Judge if Other
        or Magistrate Judge                                     than Assigned Judge

   CASE NUMBER                          10 C 1665                          DATE                      8/26/2010
            CASE                              Dorothy Austin vs. GC Services Limited Partnership
            TITLE

  DOCKET ENTRY TEXT

  The parties having stipulated to the agreed dismissal of this action pursuant to settlement, this case is hereby
  dismissed with prejudice, each party to bear its own costs and fees. All pending dates and motions are
  hereby stricken as moot. Civil case terminated.




                                                                                                              Docketing to mail notices.




                                                                                        Courtroom Deputy                 maw
                                                                                                  Initials:




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